    Case 2:08-cv-00080-RFC-RWA Document 1 Filed 11/12/08 Page 1 of 5



BERNARD J. “BEN” EVERETT
MICHELLE SIEVERS
KNIGHT, DAHOOD, EVERETT & SIEVERS
Attorneys at Law
113 East Third Street
P.O. Box 727
Anaconda, Montana 59711
Telephone: (406) 563-3424
Facsimile: (406) 563-7519
ATTORNEYS FOR PLAINTIFF

                   UNITED STATES DISTRICT COURT
                        DISTRICT OF MONTANA
                           BUTTE DIVISION
        _________________________________________________

TIMOTHY JONES,                  )
                                ) CAUSE NO.: ___________
          Plaintiff,            )
                                )
vs.                             )
                                )       C O M P L A I N T
UNITED STATES OF AMERICA,       )
                                )
          Defendant.            )
_________________________________________________________________

     COMES NOW TIMOTHY JONES and for his cause of action against

the United States of America claims and alleges as follows:



                                   I

     This action arises under the Federal Tort Claims Act, 28 USC

§ 2671 et seq.   The defendant is the United States of America.



                                  II

     The Plaintiff TIMOTHY JONES is a resident of Butte-Silver Bow

County, State of Montana.

1    COMPLAINT
    Case 2:08-cv-00080-RFC-RWA Document 1 Filed 11/12/08 Page 2 of 5


                                  III

     Plaintiff TIMOTHY JONES is a disabled United States Navy

Veteran and as such was entitled to and did receive care at United

States Veteran Administration Medical centers.          This claim for

damages is for negligent care provided to Plaintiff at the Salt

Lake City VA Health Care System at Salt Lake City, Utah (Salt Lake

VAMC); the VA Montana Health Care System at Fort Harrison, Montana

(Fort Harrison VAMC); and the Anaconda Out-patient Clinic at

Anaconda, Montana.



                                  IV

     On February 23, 2005, Plaintiff TIMOTHY JONES was admitted to

the Fort Harrison VAMC for diagnosis and treatment for a fever that

was likely infectious in origin.       From there he was transferred to

the Salt Lake VAMC on March 2, 2005.      While at the Salt Lake VAMC,

Plaintiff underwent a biopsy of a right lower quadrant pelvic mass

on March 17, 2005.     Plaintiff was transferred back to the Fort

Harrison VAMC.



                                   V

     On March 23, 2005, and on March 24, 2005, tests performed at

the Fort Harrison VAMC on Plaintiff TIMOTHY JONES lead to a

diagnosis of a large right psoas hematoma causing “compression or

stretching of femoral nerve”.      The prescribed treatment for his


2    COMPLAINT
    Case 2:08-cv-00080-RFC-RWA Document 1 Filed 11/12/08 Page 3 of 5


fermarol nerve condition was “time and analgesics.”



                                  VI

     Plaintiff TIMOTHY JONES underwent repeat examinations and

evaluations at the Fort Harrison VAMC and Anaconda Out-patient

Clinic for continued and persistent loss of function of his right

lower leg and severe right lower leg pain and “foot drop” due to

“nerve impingement”.   No interventional treatment was recommended,

prescribed or instituted. Plaintiff was provided only conservative

care for his femoral nerve impingement condition.



                                  VII

     On August 24, 2006, Plaintiff TIMOTHY JONES finally underwent

an evaluation by a neurologist at the Fort Harrison VAMC where the

following assessment was made:



           “Severe right femoral neuropathy secondary to
           iliopsas compartment syndrome/hematoma. It is
           18 moths since it occurred. The patient may
           regain some strength but I think this is
           relatively unlikely.”


                                 VIII

     The care provided to plaintiff TIMOTHY JONES by defendant at

the Salt Lake VAMC, Fort Harrison VAMC and Anaconda Out-patient

Clinic was below the standard of care and constitutes medical

negligence.

3    COMPLAINT
    Case 2:08-cv-00080-RFC-RWA Document 1 Filed 11/12/08 Page 4 of 5


                                     IX

     As a direct and proximate result of Defendant’s negligence

Plaintiff TIMOTHY JONES has suffered serious and permanent bodily

injuries for which he claims damages against the defendant for

past, present and future medical expenses, mental and physical pain

and suffering, loss of value of household services, and loss of

enjoyment of life.



                                     X

     Plaintiff TIMOTHY JONES submitted a claim for damages to the

Department of Veteran Affairs, United States of America on January

31, 2007.   The claim was formally denied on August 7, 2008.



     WHEREFORE plaintiff TIMOTHY JONES prays judgement against

Defendant   United   States    of   America   for   Two   Million   dollars

($2,000,000.00) to compensate him for his injuries.



     DATED THIS 12th DAY OF NOVEMBER, 2008.



                              KNIGHT, DAHOOD, EVERETT & SIEVERS



                               /s/ Bernard J. Everett
                                BERNARD J. “BEN” EVERETT
                                KNIGHT, DAHOOD, EVERETT & SIEVERS
                                Attorney for plaintiff



4    COMPLAINT
     Case 2:08-cv-00080-RFC-RWA Document 1 Filed 11/12/08 Page 5 of 5



                              CERTIFICATE OF MAILING


     I hereby certify that on November 12th, 2008, a copy of the

foregoing document was served on the following persons by the

following means:


        1           CM/ECF
                    Hand Delivery
      2,3           Mail
                    Overnight Deliver Service
                    Fax
                    E-mail



1.   Clerk, U.S. District Court

2.   Michael B. Mukasey
     U.S. Attorney General
     U.S. Department of Justice
     950 Pennsylvania Avenue, NW
     Washington, DC 20530-0001

3.   Civil Process Clerk
     U.S. Attorney’s Office
     2929 3rd Ave. N., Ste. 400
     P.O. Box 1478
     Billings, MT 59103




                                      /s/ Bernard J. Everett
                                      BERNARD J. “BEN” EVERETT
                                      Attorney for plaintiff




5    COMPLAINT
